IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MISSOURI

EASTERN DIVISION
AMERICAN GUARANTEE & LIABILITY )
INSURANCE COMPANY, )
)
Plaintiff/Counterclaim-Defendant, )
)
V. ) Case No. 4:06-CV-00655-RWS
)
UNITED STATES FIDELITY & ) CONSOLIDATED
GUARANTY COMPANY, )
)
Defendant/Counterclaim-Plaintiff, )
)
and )
)
TIG INSURANCE COMPANY, ) :
)
Defendant. )

PLAINTIFF’S MEMORANDUM IN SUPPORT OF MOTION TO ALTER
OR AMEND THE JUDGMENT PURSUANT TO FED.R.CIV.P. 59(e)

Plaintiff American Guarantee & Liability Insurance Company (“Zurich’’) moves, pursuant to

 

 

Fed.R.Civ.P. 59(e), to alter or amend the judgment entered in favor of defendants on February 18,
2010, so as to withdraw the grant of summary judgment to defendants and deny their summary
Judgment motion. We respectfully submit that the grant of summary judgment was the product ofa
number of manifest errors of fact and law, and the relief sought by this motion is necessary and
appropriate to correct such errors and prevent a manifest injustice.

As discussed below, some of the errors relate to the Court’s ruling that Zurich is not entitled
to pursue its bad faith claim as a subrogee or assignee of Consolidated Freightways Corporation

(“CF”), or under a direct duty theory, while others pertain to the ruling that Zurich’s bad faith claim

 

is foreclosed by the CF Trust’s supposedly having failed to make a demand that the Silva case be

619989.3
 

settled. The discussion below is divided according to the above-referenced topics, with each of the
claimed errors addressed under the appropriate topic.

A. ZURICH’S ABILITY TO MAINTAIN CLAIM

1. The Court held that Zurich could not maintain its bad faith claim as a subrogee of CF,
under principles of contractual or equitable subrogation, on the premise that “‘[i]f the interest of the
insurer is derived by subrogation, the action must be brought by, or at least in the name of, the
insured.”” Memorandum and Order dated February 18, 2010 (Doc. No. 213, “Feb. 18 Order’) at 24,
quoting Warren v. Kirwan, 598 S.W.2d 598, 599 (Mo. Ct. App. 1980). The Court erred as a matter
of law in so holding ~ even assuming arguendo that Warren would preclude Zurich from
maintaining this action in its own name in a Missouri state court! — in that, as discussed below, the
question of in whose name an action must be brought is procedural, not substantive, and is governed
by Fed.R.Civ.P. 17. Rule 17(a)(1) provides that an action brought in federal court “must be
prosecuted in the name of the real party in interest.” Here, only Zurich can be deemed the real party
in interest.

In a diversity case such as this, the analysis of who is a real party in interest begins with an
examination of “who, under governing substantive law, possesses the rights to be enforced.” Consul
General of the Republic of Indonesia v. Bill’s Rentals, Inc., 339 F.3d 1041, 1045 (8" Cir. 2003).
Such rights may reside in one who “legally, or equitably, own[s] the claim under the substantive law
of the state.” Rosenfeld v. Continental Bldg. Oper. Co., 135 F. Supp. 465, 467 (W.D. Mo. 1955).
See United States v. Aetna Casualty & Surety Co., 338 U.S. 366, 380-81 (1949) (insurer-subrogee

who has substantive equitable rights qualifies as real party in interest).

 

' For the reasons discussed in § A.2, infra, we do not concede that Warren would preclude
Zurich from maintaining this action in its own name in a Missouri state court.

9 6199893

 

 
 

Missouri law, which this Court has held provides the substantive law governing this case,
clearly recognizes principles of contractual and equitable subrogation. There can be no dispute that
under Missouri law, Zurich, as CF’s excess insurer who paid $17 million to satisfy a judgment
against its insured, holds at least equitable title to the bad faith claim asserted here. See Plaintiffs
Supplemental Brief Regarding Equitable Subrogation Under Missouri Law in Opposition to
Defendants’ Motion for Summary Judgment (Doc. No. 204, “Zurich Supp. Subro. Br.”). Indeed, the
Court appears to so recognize at pp. 23-24 of the Feb. 18 Order.

But the foregoing is not the endpoint of the analysis concerning how a claim may be brought,
and by whom. The complete analysis involves the separate and distinct question of in whose name
the claim may be brought. The party in whose name the action may be prosecuted is procedural, not
substantive, and therefore is controlled by federal law as embodied in Fed.R.Civ.P. 17. See, e.g.,
Brocklesby Transport v. Eastern States Escort Services, 904 F.2d 131, 133 (2d Cir. 1990); Virginia
Electric & Power Co. v. Westinghouse Electric Corp., 485 F.2d 78, 83 (4" Cir. 1973); Gas Service
Co. v. Hunt, 183 F.2d 417, 419 qo" Cir. 1950); Wattles v. Sears, Roebuck & Co., 82 F.R.D. 446,
450-451 (D. Neb. 1979). Accordingly, to whatever extent Missouri law might provide that an action
in state court must be brought in the name of the party holding legal title to the claim, here, where
the action is brought in federal court, federal law, .e., Fed.R.Civ.P. 17, governs the procedural issue
of in whose name the action may be brought. As noted, Rule 17(a) requires that federal court actions
must be brought in the name of the real party in interest, and that surely is Zurich under the
circumstances of this case.

Numerous courts have endorsed the propriety of the foregoing analysis. First, the U.S.

Supreme Court did so in United States v. Aetna Casualty & Surety Co., 338 U.S. at 380-81:

3 6199893

 

 

 
 

Rule 17(a) of the Federal Rules of Civil Procedure, 28 U.S.C.A., which were
specifically made applicable to Tort Claims litigation, provides that ‘Every action
shall be prosecuted in the name of the real party in interest,’ and of course an insurer-
subrogee, who has substantive equitable rights, qualifies as such. If the subrogee has
paid an entire loss suffered by the insured, it is the only real party in interest and
must sue in its own name. 3 Moore, Federal Practice (2d Ed.) p. 1339. If it has paid
only part of the loss, both the insured and insurer (and other insurers, if any, who
have also paid portions of the loss) have substantive rights against the tortfeasor
which qualify them as real parties in interest. (Footnote omitted).

The Supreme Court went on to note that “[u]nder the common law practice[,] rights acquired by
subrogation could be enforced in an action at law, only in the name of the insured to the insurer’s
use,” but stated, “[u]nder the Federal Rules, the ‘use’ practice is obviously unnecessary, as has long
been true in equity.” 338 U.S. at 381.

The principles underlying the foregoing analysis also have been endorsed by the Eighth
Circuit. See National Garment Co. v. New York, C & St. L.R. Co., 173 F.2d 32 (8" Cir. 1949).
There, a garment company shipped a carload of knitting machinery which was damaged in transit,
allegedly as a result of the carrier’s negligence. The garment company had purchased insurance, and
the insurer paid part of the loss and thus became subrogated to the garment company’s claim, to the
extent of its payment. The Eighth Circuit, after noting that Fed.R.Civ.P. 17 requires that every
action be prosecuted in the name of the real party in interest, stated (173 F.2d at 34-35):

In this situation there are two real parties in interest — the insurer to the extent of its

payment and the insured to the extent of the difference between the payment received

from the insurer and the whole loss. In the absence of objection either may maintain

an action against the person primarily liable, the insurer to the extent of its payment,

the insured to the extent of the whole loss. The rule against splitting a cause of

action is for the benefit of the defendant and may be waived. On objection by the

defendant, the absent party should be made a party plaintiff. (Internal citations
omitted).

Numerous other cases have approved and followed the analysis set forth above, and
inexorably lead to the conclusion that in this federal court action, Zurich is the real party in interest

and a proper party to bring this case. See Ocean Ships, Inc. v. Stiles, 315 F.3d 111, 116-17 (2d Cir.

4 6199893

 

 
 

 

2002); Brocklesby Transport v. Eastern States Escort Services, 904 F.2d at 133; Travelers Ins. Co. v.
Riggs, 671 F.2d 810, 812-14 (4 Cir. 1982); Garcia v. Hall, 624 F.2d 150, 152 (10" Cir. 1980);
Virginia Electric & Power Co. v. Westinghouse Electric Corp., 485 F.2d at 82-84; Gas Service Co.
v. Hunt, 183 F.2d at 419-20; Jossco Australia Party, Ltd. v. AG Processing, Inc., 2006 WL 4503895,
*3 (D. Neb.); Warner/Elektra/Atlantic Corp. v. Village of Bensenville, Illinois, 1989 WL 91772, *2
(N.D. Ill); Wattles v. Sears, Roebuck & Co., 82 F.R.D. at 448-49; R.J. Reynolds Tobacco Co. v.
Laney and Duke Storage Warehouse Co., 39 F.R.D. 607, 608 (M.D. Fla. 1966); Hughey v. Aetna
Cas. & Surety Co., 220 F.Supp 147, 147-48 (D. Del. 1963). See generally, Wright, Miller & Kane,
Federal Practice and Procedure: Civil 2d § 1546.°

The purpose of requiring that an action be brought by the real party in interest is “to protect
the defendant against a subsequent action by the party actually entitled to recover, and to insure
generally that the judgment will have its proper effect as res judicata.” United Healthcare Corp. v.
American Trade Ins. Co., 88 F.3d 563, 569 (8" Cir. 1996), quoting Fed.R.Civ.P. 17(a) Advisory
Committee Note. As the Eighth Circuit stated in Dubuque Stone Products Co. v. Fred L. Gray Co.,
356 F.2d 718, 723 (8" Cir. 1966):

If the judgment, if any, by the plaintiff will protect the defendant from future
annoyance or loss, and where, as against the parties suing, the defendant can urge
any defenses he could make against the real owner of the claim, then there is an end

of the defendant’s concern as to the protection he is afforded by having the claim
prosecuted by the real party in interest. (Internal quotations and citations omitted).

Also, Rule 17 is “[i]ntended to expand the class of those who may sue to include persons having an

equitable or beneficial interest.” Virginia Electric & Power Co., 485 F.2d at 83. It is not designed

 

* Defendants first raised the argument that “a party invoking the right to equitable
subrogation must adhere to Missouri procedure, which Zurich has not done,” in Defendants’
Memorandum in Response to the Court’s October 19, 2009 Order for Supplemental Briefing (Doc.
No. 205) at 10. That memorandum was submitted as part of a supplemental round of briefing, in
which the parties were directed to file simultaneous briefs. Accordingly, Zurich has not previously
had an opportunity to brief the issues addressed above.

5 619989.3

 

 

 
 

to prevent prosecution of claims by persons having a legitimate stake therein, or spawn procedural
wrangling “resulting in extravagant expenditures of time and effort before ever reaching the merits.”
Id.

Here, no one other than Zurich has an interest in the bad faith claim which is the subject of
this case. There is no prospect that defendants will be subjected to any such claim by any other party
in the future. Accordingly, there is no policy or practical reason why Zurich should not be permitted
to pursue its bad faith claim in its own name, and every reason to permit Zurich’s pursuit of the
claim, consistent with the principles of Rule 17(a) that “[a]n action must be prosecuted in the name
of the real party in interest.”

2. Even leaving aside the matters discussed in § 1 above, we submit that Warren y.
Kirwan, supra, does not mandate the conclusion that Missouri state law precludes Zurich from
pursuing its bad faith claims as a subrogee in its own name, and that the Court erred as a matter of
law in concluding otherwise. First, Warren is distinguishable from the present controversy. It is not
a case in which an insurer, being a real party in interest, was precluded from pursuing a claim.
Rather, the Missouri Court of Appeals merely concluded that the plaintiff-insured was a real party in
interest and his failure to join his insurer in the action was a nonjoinder, which did not necessarily
require dismissal of the action. 598 S.W.2d at 601.

Moreover, numerous courts in Missouri, both state and federal, have allowed analogous cases
to be pursued by an insurer in its own name. See West Am. Ins. Co. v. RLI Ins. Co., 2008 WL
1820839 (W.D. Mo.); Central Nat’l Ins. Co. of Omaha v. Med. Protective Co. of Fort Wayne, Ind.,
107 F.R.D. 393 (E.D. Mo. 1985); Johnson vy. Allstate Ins. Co., 262 S.W.3d 655 (Mo. Ct. App.
2008); Freeman v. Basso, 128 S.W.3d 138 (Mo. Ct. App. 2004); Bonner v. Auto. Club Inter-Ins.

Exch., 899 S.W.2d 925 (Mo. Ct. App. 1995); Ganaway v. Shelter Mut. Ins. Co., 795 S.W.2d 554,

6 6199893

 

 
 

564-65 (Mo. Ct. App. 1990). Also, allowing Zurich to prosecute its bad faith claim in its own name
is consistent with the practice prevailing in nearly all of the many other jurisdictions which have
considered the issue. See Zurich Supp. Subro. Br. at 6-9. It is inconceivable that the Missouri
Supreme Court would hold that Zurich may not pursue its bad faith claim in its own name under the
circumstances of this case.

A recent decision from the U.S. District Court for the Western District of Missouri, rendered
October 8, 2009, is instructive. West Am. Ins. Co. v. RLI Ins. Co., 2009 WL 3327203 (W.D. Mo.).
There, the defendant in a bad faith action claimed that the plaintiff excess insurer was not a real party
in interest because the insurer did not pay the entire judgment against the insured. /d. at *3. The
controversy was governed by Kansas law, and the defendant pointed to a Kansas case holding that
“when the [insured’s] loss has been only partially satisfied by insurance, the insured is a proper
party to bring suit for the deficiency,” Thompson v. James, 597 P.2d 259 (Kan. App. 1979). Jd. The
court rejected defendant’s argument, stating:

Under West American’s logic, however, an excess insurer could never be the real

party in interest in a bad faith action against a primary insurer because an excess

insurer would never pay the insured’s “[t]otal loss.” The Court does not believe

Kansas courts would apply Thompson to a situation such as here, where an excess
insurer has sued a primary insurer for bad faith. (Emphasis in original).

3. Separate and apart from the matters addressed in the preceding two sections regarding
subrogation, the Court also erred as a matter of law in concluding that Zurich cannot be deemed
entitled to pursue its bad faith claim as an assignee of CF. The Court noted that the Zurich/CF
excess insurance policy transferred CF’s rights of recovery on a bad faith claim to Zurich, and that
Zurich thus could be deemed entitled to pursue its bad faith claim as an assignee of CF, if the claim
was assignable. Feb. 18 Order at 23-25. However, the Court held that Quick v. Nat'l Auto Credit,
65 F.3d 741 (8"" Cir. 1995), compelled it to conclude that a bad faith claim is not assignable. Feb. 18

Order at 27-29.

7 619989.3

 

 
 

As a starting point, Quick involved circumstances in which a defendant in a personal injury
action assigned to the personal injury plaintiffthe defendant’s bad faith claim against the defendant’s
insurer. Moreover, the claim assigned in Quick was for unliquidated amounts, and ultimately
resulted in a verdict for $6.5 million in actual damages and $885,000 in punitive damages. These
circumstances give rise to substantially different public policy concerns than those implicated by the
present case. See Zurich Supp. Subro. Br. at 9-13. Accordingly, a decision to disallow the kind of
assignment involved in Quick does not mandate the conclusion that a corporate insured may not
validly assign to its excess insurer a bad faith claim arising from the excess insurer having paid a
judgment against the insured.

Further, Quick was decided in 1995, and since then, assignments of bad faith claims have
been allowed to form the basis for recovery in a number of Missouri state and federal cases. See
cases cited at pp. 6-7, supra. Also, with respect to the many other jurisdictions which have
considered whether bad faith claims of the kind involved here are assignable, almost all of them have
held in the affirmative. See Zurich Supp. Subro. Br. at 7-9.

Where a question of state law arises on which there is no controlling Missouri Supreme Court
precedent, this Court’s charge is to determine how the Missouri Supreme Court would decide the
issue, looking for guidance to Missouri lower court decisions and other reliable state law authorities.
The Court recognized these guiding principles, see Feb. 18 Order at 31 n. 28, but erred in their
application. When it confronted the issue of assignability of the bad faith claim involved here, the
Court was doing so 14 years after the decision in Quick, against a different legal backdrop than
existed at the time Quick was decided. Moreover, this Court was called upon to consider the issue in
a very different factual context from that involved in Quick. In light of all the facts and

circumstances of this case, and the present legal landscape, in Missouri and elsewhere, it is

8 6199893

 

 

 
 

inconceivable that the Missouri Supreme Court would hold that Zurich does not have the right and
ability to pursue its bad faith claim as an assignee of CF. The Court should have so concluded after
undertaking a fresh analysis of the issue in the present context, but instead deemed itself bound to
apply the conclusion of non-assignability found in Quick. In so doing, the Court erred as a matter of
law.

4. Leaving aside the points discussed in the preceding sections, and even assuming
arguendo that Zurich is not entitled to maintain this action in its own name, but rather must bring the
action in the name of its insured, the Court nonetheless erred in granting summary judgment against
Zurich on that basis, as opposed to affording Zurich an opportunity to amend its pleadings or join
additional parties.

That conclusion is mandated, first of all, by the plain language of Fed.R.Civ.P. 17(a)(3),
which provides:

The court may not dismiss an action for failure to prosecute in the name of
the real party in interest until, after an objection, a reasonable time has been allowed
for the real party in interest to ratify, join or be substituted into the action. After

ratification, joinder, or substitution, the action proceeds as if it had been originally
commenced by the real party in interest.

Consistent with that language, a number of cases have held that the proper approach, in the event an
action is brought by the wrong party, or in the wrong name, 1s to allow the defect to be remedied and
the action to proceed. See, e.g., Jaramillo vy. Burkhart, 999 F.2d 1241, 1246 (8" Cir. 1993);
Mecklenburg Farm, Inc. v. Anheuser-Busch, Inc., 250 F.R.D. 414, 418 (E.D. Mo. 2008); Jossco
Australia Party, Ltd. v. AG Processing, Inc., 2006 WL 4503895 at *3-5; Rosenfeld v. Cont’l Bldg.

Oper. Co., 135 F.Supp. at 470.°

 

* Even in the most extreme circumstances, the remedy for an action being brought by the
wrong party, or in the wrong name, should be not a judgment on the merits but rather, at most, a
dismissal without prejudice, thus allowing a new action to be pursued by the proper party, or even

9 619989.3

 

 
 

If there is any requirement that this action be brought by or in the name of Zurich’s insured,
CF — which, for the reasons discussed previously, we dispute — that requirement can be satisfied by
allowing Zurich to amend its pleadings to reflect that it is bringing this action in the name of CF, for
the use and benefit of Zurich. See, e.g., Holyoke Mut. Ins. Co. v Concrete Equipment Co., 394 So.2d
193, 196-97 (Fla. App. 1981). Holyoke involved circumstances analogous to this case, including an
insured which had been dissolved. The court held that the insurer had the right to maintain the
action either in its own name, or in the name of the insured for the use and benefit of the insurer. /d.
Accordingly, at the very least, Zurich should be afforded an opportunity to remedy the perceived
deficiency, rather than having an adverse judgment entered.*

5. As a final and alternative argument to the points discussed above, we submit that the
Court erred in concluding, “Zurich recognizes that USF&G and TIG owed it no direct duty of good
faith... .” Feb. 18 Order at 22. To the contrary, Zurich maintains that if for any reason, it is not
deemed to have a viable remedy in this case under principles of subrogation or assignment, the Court

should recognize, under the unique and limited circumstances of this case, duties of good faith

 

the same party in the name of another. See, e.g., Rosenfeld v. Cont’. Bldg. Oper. Co., 135 F.Supp.
at 470.

* In addition to the matters discussed above, defendants can be deemed to have waived, or
otherwise failed to properly raise, their argument that Zurich has not adhered to Missouri procedure.
As noted previously, defendants first raised that argument in a supplemental brief requested by the
Court after briefing otherwise had been completed. Summary judgment cannot properly be sought,
or granted, based on an argument first raised in a reply brief — at least where the opposing party has
not been given an opportunity to respond. See, e.g., Doebele v. Sprint/United Memt. Co., 342 F.3d
1117, 1139 N. 13 (10" Cir. 2003); Provenz v. Miller, 102 F.3d 1478, 1483 (9" Cir. 1996). It follows
that defendants cannot claim entitlement to summary judgment on grounds first asserted in a
supplemental brief post-dating the filing of their reply. Also, a number of cases have held that an
objection that the action has not been brought by the real party in interest should be raised in the trial
court with reasonable promptness and, absent that, will be deemed waived. See, e.g., United
Healthcare Corp. v. American Trade Ins. Co., 88 F.3d at 569; Sun Refining and Marketing Co. v.
Goldstein Oil Co., 801 F.2d 343, 345 (8" Cir. 1986); Chicago and Northwestern Transp. Co. v.
Negus-Sweenie, Inc., 549 F.2d 47, 49-50 (8" Cir. 1977).

10 619989.3

 

 

 

 
 

flowing directly from defendants to Zurich. See Plaintiff's Memorandum in Opposition to
Defendants’ Motion for Summary Judgment (Doc. No. 181, “Zurich S.J. Opp.”) at 26-31.

Zurich acknowledges that many states, including Missouri, have not to-date recognized such
a direct duty. However, many of those cases turn on the availability of subrogation as aremedy, and
do not exclude the possibility that in appropriate circumstances, where subrogation does not provide
a remedy, a direct duty may be recognized. See Zurich S.J. Opp. at 27-31.

Again, if Zurich’s claim under principles of subrogation or assignment is deemed to fail for
any reason ~ including that the action has not been brought in the name of the proper party, or the
lack of a demand by the insured that the underlying case be settled” — we maintain that under the
unique and limited facts and circumstances of this case, Missouri courts would recognize direct
duties of good faith flowing from defendants to Zurich. Jd. We submit that the Court erred as a
matter of law in failing to accept that argument and, indeed, failing to even consider it.

B. DEMAND-RELATED ISSUES

lL. The Court held that there are two circumstances in which a demand by the insured
that the underlying case be settled is not an essential element ofa claim for bad faith refusal to settle:
(1) where the insurer has failed to notify the insured of a settlement offer, citing Ganaway v. Shelter
Mut. Ins. Co., 795 S.W.2d 554, 564 (Mo. Ct. App.1990); and (2) where an insurer refuses to provide
a defense to the insured, citing Shobe v. Kelly, 279 S.W.3d 203, 211 (Mo. Ct. App. 2009). The

Court concluded that the Shobe exception does not apply here since TIG did provide a defense, and

 

> In a claim grounded in subrogation, the subrogee is subject to defenses assertable against
the subrogor, including, in cases where a demand is a necessary element ofa bad faith claim, that the
insured failed to make a demand for settlement. In contrast, where a bad faith claim rests on a theory
of direct duty flowing from a primary to an excess insurer, the focus is on what transpired between
the insurers, and whether the insured made a demand for settlement is irrelevant. See, e.g.,
Commercial Union Ins. Co. y. Medical Protective Co., 393 N.W.2d 479, 484 (Mich. 1986).

11 619989.3

 

 

 
that whether the Ganaway exception applies depends on whether the demand needed to come from
CF, on the one hand, or the CF Trust, on the other. See Feb. 18 Order at 31-32.

In the latter regard, the Court held that if the CF Trust was the proper party to make a
settlement demand, the Ganaway exception would not apply because the CF Trust was advised of
settlement offers, whereas if CF was the proper party to make the demand, no demand would be
necessary because CF could not have made a settlement demand after it was dissolved. Jd. The
Court ultimately held that the demand needed to come from the CF Trust because the Silva claims
were asserted against CF’s bankruptcy estate and the Trust was, in essence, CF’s bankruptcy estate.
On that basis, the Court held that Zurich’s claim must fail for lack of a demand. Jd. at 32-33.

In the foregoing analysis, the Court erred, first of all, in concluding that a settlement demand
needed to come from the CF Trust, as opposed to CF, on the premise that the CF Trust was the target
of the Silva claims. That conclusion overlooks certain aspects of the undisputed factual record as
well as certain bankruptcy law principles.

As to the factual record, it is undisputed that as a condition for obtaining relief from the
automatic stay of proceedings imposed under bankruptcy law, and thus being allowed to pursue their
state court actions, the Silva plaintiffs stipulated that any recovery would be limited to “any
applicable insurance coverage the Debtors may have... .” See Plaintiff's Response to Defendants’
Revised Statement of Uncontroverted Facts (Doc. No. 180, “Plaintiff's Factual Response’) at { 45.
Accordingly, it cannot be said that CF was the target of the Silva claims. CF had no exposure for
any recovery. Similarly, CF’s bankruptcy estate was not the target of the Silva claims, as it had no
potential exposure. The only target of the Silva claims was CF’s insurance policies.

Moreover, even leaving aside that CF was not the target of the Silva claims — which means

that CF’s bankruptcy estate similarly cannot be viewed as the target of the Silva claims — the Court

12 619989.3

 

 
further erred as a matter of law in equating the CF Trust with CF’s bankruptcy estate. When CF
filed its bankruptcy petition in 2002, a bankruptcy estate was automatically created under 11 U.S.C.
§ 541, consisting of CF’s legal and equitable property interests as of the bankruptcy filing date. 11
U.S.C. § 541(a)(1). See Plaintiff's Factual Response, Zurich’s Statement of Additional Material
Facts (“Zurich’s SAMF’”’) at { 24. In contrast, the CF Trust did not come into being until December
2004, more than two years later. It was created not by statute, but rather pursuant to CF’s confirmed
plan of liquidation and a Liquidation Trust Agreement (“LTA”). See Zurich’s SAMF at § 26, 28;
Zurich Exhibit 48, Liquidation Trust Agreement.

The CF Trust is a liquidating entity into which only certain assets, existing as of a certain
date, were transferred. Zurich Ex. 48; See Plaintiff's Supplemental Brief Regarding Bankruptcy
Issues in Opposition to Defendants’ Motion for Summary Judgment (Doc. No. 207, “Zurich Supp.
Bkcy. Br.”) at 4. The trustee of the CF Trust and others, such as the Oversight Committee, were
given defined rights, interests and powers relating to the liquidation of the transferred assets and
distribution of the proceeds to CF’s creditors. See Zurich’s SAMF at § 28-29. Accordingly, the
notion that the CF Trust is the equivalent of CF and its bankruptcy estate, and was the target of the
Silva claims, is an erroneous premise. Once that premise is removed from the Court’s analysis, the
logical underpinning for the conclusion that a demand for settlement needed to come from the CF
Trust falls away.

2. Even assuming arguendo that, notwithstanding the foregoing, the CF Trust was the
appropriate party to make a demand that the Silva claims be settled, the Court further erred in
holding that the Ganaway exception was inapplicable on the premise that the CF Trust was advised
of settlement offers. While there is evidence that CF Trust personnel were apprised of the $5 million

settlement demand made by the Silva plaintiffs in December 2005, there is no evidence that

13 619989.3

 

 
defendants made any effort whatsoever to keep the CF Trust apprised of settlement communications
that occurred later, including TIG’s settlement offer of $500,000 on the first day of trial, the Silva
plaintiffs’ counter-offer to settle for $4.75 million, the Silva plaintiffs’ willingness to entertain a
high-low proposal, TIG’s ensuing $2 million/$250,000 high-low proposal, and the Silva plaintiffs’
rejection of the high-low proposal, accompanied by a statement that their offer to settle for $4.75
million remained on the table.°

Indeed, other than what the CF Trust may have learned from Zurich or Brad Baumgart, TIG
largely kept CF and the CF Trust in the dark as to what was transpiring with respect to settlement
negotiations. For example, neither CF nor the CF Trust was aware of the Silva plaintiffs’ $20
million settlement demand in 2003, or participated in the 2004 mediation. See Zurich’s SAMF at {4
47,70. Moreover, it is undisputed that TIG did not share the amounts of any of the settlement offers
during the Silva trial with the CF Trust. /d. at { 246. TIG’s claim notes, which are supposed to
document any discussions between TIG and the CF Trust concering the status of the Silva trial or
settlement negotiations, make no mention of any effort by TIG to keep the CF Trust apprised of any
developments during the trial, either positive or negative, or the status of settlement negotiations
with the Silva plaintiffs. 7d. at {9 201, 257.

Implicit in the reasoning of Ganaway is that, if an insured is going to be required to make a
demand for settlement as a condition of preserving a bad faith claim, the insured and its insurer

(directly or through counsel) will be consulting all along the way about settlement. Presumably, the

 

° In Defendants’ Revised Statement of Uncontroverted Material Facts (Doc. No. 174,
“Defendants’ SUMF’’), defendants assert many facts related to developments during the case that
impacted settlement negotiations, as well as the actual settlement negotiations between TIG and the
Silva plaintiffs, but make no mention of CF or the CF Trust being involved in or even being made
aware of such developments or negotiations, e.g., the 2004 mediation (ff 58-66), TIG’s November
2005 assessment of the Silva case (ff 86-92), Lawder’s final pretrial assessment (4 108-116), TIG’s
internal assessment ({[{ 117-128), settlement negotiations at trial ({§] 148-156), and settlement
discussions related to a high-low proposal (| 189-191).

14 619989.3

 

 

 
 

insured will be kept in the loop on settlement considerations such that, at any point in time, the
insured is fully informed and has a proper factual basis for evaluating whether it wishes to pressure
its insurer to settle the case. Here, the summary judgment record wholly fails to establish that these
types of communications occurred with the CF Trust, especially once the trial started.

In sum, on the summary judgment record, there was no proper basis for concluding that this
case does not come within the facts and reasoning of Ganaway, so as to obviate any requirement ofa
demand for settlement as a prerequisite to a bad faith claim. To the contrary, under the undisputed
facts of this case, it is clear that defendants did not at all pertinent times keep the CF Trust apprised
of all settlement offers and counter-offers. Accordingly, as a matter of law, under Ganaway, a
demand by the CF Trust that defendants settle the Silva claims cannot properly be viewed as a
prerequisite to a bad faith claim by Zurich.

3, A further flaw in the Court’s conclusion that a settlement demand by the CF Trust is
an essential element of Zurich’s bad faith claim is that the CF Trust lacked authority to make
settlement decisions for claims like the Silva claims. The Court noted Zurich’s contention in that
regard but overlooked the relevant facts and legal principles. For instance, the Court apparently
concluded that requisite settlement authority appears in § 3(a)(21) of the LTA, which empowers the
trustee to institute all claims and causes of action which could be brought by a trustee or debtor in
possession. See Feb. 18 Order at 13. In so concluding, however, the Court overlooked the fact that
§ 3 of the LTA, which governs the duties and powers of the trustee, addresses only the Trust’s right

to pursue affirmative claims, and says nothing about defending or settling claims asserted against

CF.’

 

” Section 3(a)(24) of the LTA gives the trustee the authority to “settle, compromise or adjust,
by arbitration or otherwise, any Claims or any disputes or controversies in favor of or against the

15 619989.3

 

 

 
 

Further, the Court overlooked language in the LTA providing that the trustee, without
approval of the Oversight Committee, lacks authority to make decisions concerning “any
determination to defend or prosecute any litigation in lieu of settlement where the amount in
litigation or the amount of the Claim exceeds $50,000.” See Zurich’s SAMF at 29; Zurich Ex. 48, at
§ 3(c)(10). The summary judgment record contains no evidence of involvement of the Oversight
Committee in the Silva case, in which the amount in controversy far exceeded $50,000. Under
Missouri law, a demand is not a required element of a bad faith claim in circumstances where, as
here, the insured cannot have been reasonably expected to make ademand. See Shobe v. Kelly, 279
S.W.3d at 210.

4. Apart from the foregoing points, the Court further erred in holding that the factual
scenarios involved in Shobe and Ganaway are the only circumstances under Missouri law in which a
demand for settlement by the insured is not an essential element of a bad faith claim. The Court’s
conclusion reflects an unduly narrow reading of Shobe, Ganaway and other case law, including H&S
Motor Freight, Inc. v. Truck Insurance Exchange, which held that a settlement demand by the
insured is not an essential element of a bad faith claim under Missouri law. 540 F.Supp. 766, 768-69
(W.D. Mo. 1982).

There is a broader lesson to be drawn from those cases, which is that a demand for settlement
should not be deemed an essential element of a bad faith claim whenever the facts of the case are
such that a demand would not be reasonably expected. That is precisely the case here. While the
Silva case was pending, the CF Trust did not view itself as having any financial stake in whether

those claims were settled, or for how much. Kerry Morgan, the trustee of the CF Trust, concluded

 

Trust.” Zurich Ex. 48. This section does not mention claims made against CF, only those made
against the CF Trust. Accordingly, it is inapplicable to the Silva claims, which were asserted against
CF, not the CF Trust.

16 6199893

 

 

 

 
 

that the Silva case was an insurance matter, with it being up to TIG to make settlement decisions.
See Zurich’s SAMF at 4f 37, 112-13, 227-28. Accordingly, it makes no sense to require a settlement
demand by the CF Trust as a condition of allowing Zurich to pursue a bad faith claim.

We note that this is not a case in which the CF Trust communicated to defendants that, for
some reason, it did not want the Silva claims to be settled. To the contrary, CF Trust personnel
made clear that they hoped and expected the case would be settled. See Zurich’s SAMF at {§ 230,
233, 247. Accordingly, this case is readily distinguishable from cases in which a bad faith claim
was deemed foreclosed because the insured affirmatively made clear that it did not want the insurer
to settle the claims. See, e.g., Westchester Fire Ins. Co. v. Gen. Star Indem. Co., 183 F.3d 578, 583
(7" Cir. 1999) (holding that an insurer cannot rely on the “consent defense” to a bad faith claim
when the insured’s consent was “not unequivocal”); Am. States Ins. Co. v. State Farm Mut.
Automobile Ins. Co., 6 F.3d 549, 551 (8 Cir. 1993); Certain Underwriters of Lloyd’s v. Gen.
Accident Ins. Co., 909 F.2d 228, 234 (7" Cir. 1990).

5. Leaving aside the issues of who was the appropriate party to make a demand, and
whether a demand was even necessary under Missouri law, the Court erred in concluding that the CF
Trust did not make any sort of demand or request for settlement sufficient to satisfy any requirement
ofa demand for settlement applicable here. The Court ignored a plethora of facts, set forth in both
Zurich’s responses to defendants’ factual assertions and its statement of additional material facts,
establishing that CF Trust personnel communicated to TIG that they hoped, expected and desired
that the Silva case be settled and, further, that TIG had confirmed to the CF Trust that it fully
intended to settle the Silva case at or before trial, thus rendering a further settlement demand by the

CF Trust unnecessary.

17 619989.3

 

 
 

We point, first, to testimony of Kim Mingo, who attended the first week of the Silva trial.
Defendants did not dispute her testimony that she, Tammy Burris and Kerry Morgan all “wanted”
the Silva case to be settled, and “hoped” that it would be settled. See Defendants’ Reply and
Response to the Statements of Material Facts in Support of and in Opposition to Defendants’ Motion
for Summary Judgment (Doc. No. 187, “Defendants’ Factual Reply”) at § 230. Likewise,
defendants did not dispute Mingo’s testimony that, during a conference call with Dove, she, Burris
and Morgan told her that they “hoped that the Silva claims would be settled.” Jd. at { 233.
Defendants also did not dispute Mingo’s testimony that, even though she “wanted” the Silva case to
be resolved or settled, she understood that only TIG controlled settlement, and she “‘firmly believed”
that TIG would settle the case. /d. at § 247.

Also significant is deposition testimony of each of Mingo, Morgan and Burris, offered by
Zurich in support of the uncontroverted proposition that neither CF nor the CF Trust ever told TIG or
USF&G that it did not want the Silva case to settle, or otherwise attempted to discourage them from
settling the Silva case. /d. at 4] 253-55. Of further significance is deposition testimony of Morgan
and Burris making clear that the CF Trust’s decision not to send a written demand was driven not by
a determination that the Silva case should not be settled within policy limits, but rather by the fact
that such a demand was an “unnecessary act,” because TIG had already confirmed to the CF Trust
that it intended to settle the Silva case and, therefore, putting a settlement demand in writing would
be tantamount to demanding that TIG do what it was already doing.® See Plaintiff's Factual

Response at {{{ 160-61 (citing Burris’s testimony at pp. 123-25); Zurich’s SAMF at 114, 234-38, 243

 

* In its Order, the Court takes issue with Zurich’s supposedly disputing the fact that the CF
Trust did not ever make a request or demand to TIG that it settle the Silva case for $5 million. See
Feb. 18 Order at 15, n. 16. However, that is not the fact Zurich disputed. Defendants never offered
any such factual assertion in their 202 statements of allegedly uncontroverted material facts. Instead,
defendants offered the broader and different proposition that the CF Trust refused to make a written

18 619989.3

 

 
(citing Morgan’s testimony at pp. 102, 117-19, 123).°

In sum, the Court’s Order is flawed to the extent it rests on a conclusion that the CF Trust did
not make any sort of demand or request for settlement sufficient to satisfy any requirement of a
demand in the context of this case.'°

CONCLUSION

For all of the foregoing reasons, we respectfully submit that the Order granting summary
judgment in favor of defendants should be altered or amended to withdraw the grant of summary

judgment and provide that defendants’ summary judgment motion must be denied.

 

demand that TIG settle the case within policy limits. See Defendants’ Revised SUMF at {§ 158-160.
Defendants offered the cited testimony of Morgan in support of that proposition, but the testimony
cited does not necessarily support defendants’ factual assertion, since a failure to demand that TIG
pay $5 million to settle the Silva case does not necessarily connote the lack of a demand that TIG
settle the case for some lesser amount that the Silva plaintiffs may be willing to accept.

” A further error concerning demand-related issues involves the Court’s failure to consider
Zurich’s argument concerning direct duty, as addressed in § A, note 5, supra. As discussed in note
5, if direct duties flowing from defendants to Zurich are recognized under the unique and limited
circumstances of this case, any lack of a demand for settlement by the insured is irrelevant and not
an obstacle to Zurich’s bad faith claim.

'° The Court’s Order reflects other errors as well, which less directly account for the grant of
summary judgment against Zurich on the dual grounds relied on by the Court, so are not addressed
above. For instance, the Court’s discussion at pp. 8-10 of the Feb. 18 Order, culminating in the
conclusion that “[t]he record does not support Zurich’s assertion that the fronting aspect of [the]
policy was terminated by CF’s bankruptcy” (p. 10), misperceives the thrust of Zurich’s position.
What Zurich argued was that, upon CF’s bankruptcy, CF’s administration and payment of claims on
a front-line basis ceased, and defendants began handling and paying claims in the same manner as an
insurer would under a traditional insurance policy not embodying a fronting arrangement. Further,
the Court stated, at p. 9 of its Feb. 18 Order, that “there is evidence that USF&G used the collateral
posted in association with the indemnity agreement to pay on claims against CF... .” It certainly
cannot properly be concluded that the facts are undisputed in that regard. There is record evidence
that in the CF bankruptcy proceedings, USF&G asserted a claim under the Indemnity Agreement for
the full amount of the approximately $1 15,000,000 in claims paid or reserved under the CF policies,
without any credit or reduction for the $87 million in collateral it received upon CF filing for
bankruptcy. See Zurich’s SAMF { 262. These facts certainly undermine any notion that USF&G
was paying claims out of the collateral, rather than out ofits pocket. Moreover, at the time the Silva
claims were being handled, TIG (through its affiliate nSpire Re, Ltd.) was the responsible insurer by
virtue of the Loss Portfolio Transfer Agreement (“LPT”) and was paying claims out of its pocket.
See Zurich’s SAMF {ff 54-57. There certainly are no undisputed facts establishing that, in 2005-06,
under the TIG regime, claim payments were coming from the collateral. Indeed, the factual record
in that regard is not fully fleshed out at all, Zurich having been denied an opportunity to delve into
those facts in the course of discovery.

19 619989.3

 

 
 

Case: 4:06-cv-00655-RWS Doc.#: 219 Filed: 03/17/10 Page: 20 of 21 PagelD #: 9506

By:

Respectfully submitted,
SPENCER FANE BRITT & BROWNE LLP

/s/ Gerald P. Greiman
Gerald P. Greiman, #3276
ggreiman@spencerfane.com
Erik O. Solverud, #61269
esolverud@spencerfane.com
Anne M. Lindner, #533403
alindner@spencerfane.com
1 N. Brentwood Blvd., Suite 1000
St. Louis, MO 63105
Telephone (314) 863-7733
Facsimile (314) 862-4656

Attorneys for Plaintiff

20 619989.3

 

 

 

 
Case: 4:06-cv-00655-RWS Doc.#: 219 Filed: 03/17/10 Page: 21 of 21 PagelD #: 9507

CERTIFICATE OF SERVICE

I hereby certify that on March / 4 , 2010, Plaintiff's Memorandum in Support of

Motion to Alter or Amend the Judgment Pursuant to Fed.R.Civ.P. 59(e) was filed electronically
with the Clerk of the Court, to be served by operation of the Court’s electronic filing system

upon the following attorneys of record:

CARMODY MacDONALD P.C.
Gerard T. Carmody

David H. Luce

120 S. Central Avenue, Suite 1800
St. Louis, Missouri 63105

(314) 854-8600 (Telephone)

(314) 854-8660 (Fax)
gtc@carmodymacdonald.com
dhl@carmodymacdonald.com

THOMPSON, LOSS & JUDGE, LLP
Peter G. Thompson

Thomas J. Judge

Two Lafayette Centre

1133 21st Street, N.W., Suite 450
Washington, D.C. 20036

(202) 778-4060 (Telephone)

(202) 778-4099 (Fax)
pthompson@tljlaw.com
tudge@tljlaw.com

Jack T. Friedman

Carroll, Burdick & McDonough, LLP
1676 N. California Blvd., Suite 620
Walnut Creek, CA 94596

(925) 944-6080 (Telephone)

(925) 256-3110 (Fax)
Jfriedman@cbmlaw.com

Attorneys for Defendants United States Fidelity &
Guaranty Company and TIG Insurance Company

21

/s/Gerald P, Greiman

6199893

Seema

 

 

 
